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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

KAMIL KUKLINESKI, individually and on           )
behalf of all others similarly situated,        )
                                                )
                 Plaintiff,                     )
                                                )
      v.                                        )     Civil Action No. 3:21-cv-01425-SPM
                                                )
BINANCE CAPITAL MANAGEMENT CO.,                 )
LTD. d/b/a BINANCE, BAM TRADING                 )
SERVICES d/b/a BINANCE.US and                   )
JUMIO CORPORATION,                              )
                                                )
                 Defendants.                    )
                 PLAINTIFF’S MOTION TO AMEND CASE CAPTION

      Comes now the Plaintiff, by counsel, and respectfully moves this Court to enter an

Order amending the case caption to reflect Plaintiff’s full name and corrected name of

defendant BAM Trading Services, Inc. d/b/a Binance.US. The bases for this motion are

fully set forth in the accompanying memorandum.

                                           FREEARK, DENNIS, MURPHY & MOSKOP, P.C.



                                  BY:      /s/ Joel D. Beckwith
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 11, 2022, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to the following:

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                                           Respectfully submitted,

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